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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                       USDC-SDNY
                                                                       DOCUMENT
 IMMIGRANT DEFENSE PROJECT and                                         ELECTRONICALLY FILED
 CENTER FOR CONSTITUTIONAL                                             DOC#:
                                                                       DATE FILED: 03/05/2021
 RIGHTS,

                             Plaintiffs,
                                                                No. 20-CV-10625 (RA)
                        v.
                                                                        ORDER
 UNITED STATES DEPARTMENT OF
 HOMELAND SECURITY and UNITED
 STATES IMMIGRATION AND CUSTOMS
 ENFORCEMENT,

                             Defendants.


RONNIE ABRAMS, United States District Judge:

       As discussed at today’s conference, no later than April 1, 2021, Defendants shall (1)

reprocess the First Interim release to determine whether there is any additional segregable, non-

exempt material that may be released to Plaintiffs; and (2) conduct the additional Homeland

Security Investigations (HSI) search mentioned at the conference. The parties shall then meet

and confer and, no later than April 8, 2021, file a joint letter proposing next steps in this

litigation, including a schedule for additional productions.

SO ORDERED.

 Dated:          March 5, 2021
                 New York, New York
                                                      ________________________________
                                                      Ronnie Abrams
                                                      United States District Judge
